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            No. 19-1020
                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE SECOND CIRCUIT


                               YAJAIRA VELAZQUEZ,

                                     Plaintiff - Appellant,
                                            v.

Yoh Services, LLC, CNBC, LLC, NBCUniversal Media, LLC, Brenda Guzman, Individual
    and Official Capacity, Mary Duffy, Individual and Official Capacity, CNBC, Inc.,

                                     Defendants – Appellees,

John and Jane Doe 1 through 10, Individual and Official Capacities, XYZ Corp., 1-10,

                                     Defendants.



     Appeal from a final Order of the United States District Court for the Southern District
              of New York, entered March 15, 2019 in Civil Action No. 17-842
                              BRIEF OF APPELLEES

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Mary Duffy
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                  CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1, Yoh Services, LLC is

a limited liability corporation. Yoh Services, LLC is 100% owned by H.L. Yoh

Company, LLC. H.L. Yoh Company, LLC is 100% owned by DZ Yoh LLC. DZ

Yoh LLC is 100% owned by The Day & Zimmermann Group, Inc. No publicly held

corporation owns 10% or more of its stock.

      CNBC, LLC, (f/k/a CNBC, Inc.) is a limited liability company that is 100%

owned by NBCUniversal Media, LLC, which is a limited liability company that is

indirectly 100% owned by Comcast Corporation. Comcast Corporation is a publicly

held corporation. No publicly held corporation owns 10% or more of its stock.
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                       JURISDICTIONAL STATEMENT
      The district court had jurisdiction over this action pursuant to 28 U.S.C. §

1331. The district court’s jurisdiction arose from Appellant Yajaira Velazquez’s

(“Velazquez”) assertion of federal claims against Appellees Yoh Services, LLC

(“Yoh”), CNBC, LLC f/ka/ CNBC, Inc. (“CNBC”), NBCUniversal Media, LLC

(“NBCUniversal”), Mary Duffy (“Duffy”), and Brenda Guzman (“Guzman”)

(together, “Appellees”), including a claim under 29 U.S.C. § 215(a)(3).

      The Court of Appeals has jurisdiction over this appeal pursuant to 28 U.S.C.

§ 1291(a). The final order that is being appealed from disposed of all parties’ claims

and was entered on March 15, 2019; final judgment was entered on March 18, 2019.

Velazquez filed a notice of appeal on April 16, 2019.




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                         STATEMENT OF THE CASE
      Velazquez, who was employed for 16 months by Yoh and assigned to work

at CNBC as a hair and makeup artist, commenced this action on February 3, 2017.

She asserted overtime wage and retaliation claims under the Fair Labor Standards

Act (“FLSA”) and the New York Labor Law (“NYLL”); recordkeeping and itemized

wage statement claims under the NYLL; race, color, and national origin

discrimination claims under the New York State Human Rights Law; and race and

color discrimination claims under the New York City Human Rights Law.

Velazquez later added race and color discrimination claims under 42 U.S.C. § 1981.

      After the parties completed discovery, Appellees moved for summary

judgment on all of Velazquez’s claims. On March 15, 2019, the district court granted

the motion in its entirety, finding, among other things, that “[Velazquez] has not

pointed to a single workweek in which she worked uncompensated time in excess of

40 hours” and that she “does not identify any evidence that her chronic lateness”—

the stated reason for her firing—“was a pretext for anything.” (SPA 1558, 1572.)

      Velazquez does not challenge the dismissal of her overtime wage claims or

her discrimination claims, thus leaving undisturbed the district court’s conclusion

that Velazquez has provided no evidence of unpaid overtime or discrimination.




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Nevertheless, Velazquez appeals the dismissal of her FLSA retaliation claim, 1

arguing that CNBC removed her from her hair and makeup assignment because she

allegedly complained about unpaid overtime. But the undisputed facts demonstrate

that Velazquez’s alleged informal complaints, which did not even relate to overtime,

had nothing to do with CNBC’s decision. The Court should therefore affirm the

dismissal of Velazquez’s FLSA retaliation claim.

CNBC’s and Yoh’s Engagement of Velazquez

      NBCUniversal and CNBC operate the CNBC cable television network, which

provides live financial market coverage and business news. (JA 271 ¶ 2.) Yoh is a

staffing agency that helps CNBC fulfill various labor needs. (JA 215 ¶ 7.)

      Velazquez was employed by Yoh and assigned to provide hair and makeup

services to on-air talent for CNBC. (JA 215, 217 ¶¶ 7-8, 19.) Velazquez’s point of

contact at CNBC was Brenda Guzman, the Production Manager responsible for the

network’s hair and makeup operations. (JA 215 ¶ 4.) Guzman’s supervisor was

Mary Duffy, Vice President of Talent Development and Senior Executive Producer

at CNBC. (JA 215 ¶ 6.) Velazquez’s contact at Yoh was Tara Fields-Gomez, a Yoh

Resource Manager. (JA 235 ¶ 5.)




1
  Velazquez also does not challenge the district court’s dismissal of her NYLL
retaliation claim.

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      Velazquez began working at CNBC in late September 2014, handling hair and

makeup at several locations from which CNBC broadcast live, most often the New

York Mercantile Exchange (“NYMEX”) and the New York Stock Exchange

(“NYSE”). (JA 217, 219 ¶¶ 19-20, 34.)         At NYMEX, Velazquez did hair and

makeup for CNBC reporter Jackie DeAngelis. (JA 219 ¶ 35.)

      According to Velazquez, she generally worked from 8:30 a.m. until around

2:00 p.m. at the NYMEX and NYSE (totaling roughly 27.5 hours per week), and she

was assigned an additional shift less than once per week. (JA 933:16-934:13, 937:5-

940:1.) After her first year, Velazquez was scheduled to work roughly 20 hours per

week. (JA 1020:1-1021:2.) Thus, by September 2015, Ms. Velazquez was working

significantly less than 40 hours per week. (Id.)

      Velazquez was paid on an hourly basis and was responsible for reporting her

own time on an electronic timekeeping system. (JA 215, 217 ¶¶ 9-10, 21-22; JA

242-43 ¶¶ 12-13.) Each week, she was to enter her time into the system, at which

point the hours were sent automatically to Guzman for approval. (JA 216 ¶ 14; JA

243 ¶ 14.) Yoh issued payments for submitted and approved time once a week. (JA

216 ¶¶ 16-18.) CNBC’s and Yoh’s business records demonstrate that Velazquez

was paid her overtime rate for all overtime hours she worked, in the rare weeks that

she worked overtime. (See JA 284-95 ¶¶ 70-150.) In the district court, Velazquez




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failed to identify any week in which she worked uncompensated overtime. (SPA

1561.)

Velazquez’s Chronic Lateness and Unreliability

      On January 29, 2016, CNBC removed Velazquez from the hair and makeup

schedule, effectively terminating her assignment, because she was chronically late

to work.2 In the proceedings below, Velazquez either admitted or failed to genuinely

dispute the core facts leading to her removal.

      As Velazquez expressly admitted, it is very important to CNBC’s live

television operation that its hair and makeup artists are punctual, and a hair and

makeup artist’s persistent lateness constitutes unsatisfactory job performance. (JA

218 ¶¶ 26-27; JA 817 ¶¶ 26-27.) 3 Velazquez’s problem with lateness began very

shortly after her hire: in October 2014, her lateness caused a CNBC contributor to


2
  In her appeal brief, Velazquez asserts that “[t]he decision to terminate [Ms.
Velazquez] was made by Duffy, Guzman and . . . Tara Fields.” (Velazquez Br. 9,
citing Duffy 20-23 (JA 1252-55)). In the cited testimony, Duffy is asked to whom
she was referring when she said “we” decided to take Velazquez off the schedule;
she answered, “Brenda Guzman, myself.” (JA 1255:19-23.) When asked if anyone
else participated, Duffy testified, “the Yoh representative would have been notified.”
(JA 1255:24-1256:2.) Velazquez’s assertion that Fields-Gomez was a decision
maker is thus unsupported in the record.
3
 Indeed, Guzman testified that she was personally involved in ending the assignment
of at least one other makeup artist for lateness. (JA 219 ¶ 28; JA 277 ¶ 33; JA
736:22-737:21.) While Velazquez disputed this testimony on the grounds of hearsay
(JA 817 ¶ 28), that objection has no basis—“[t]he witness [was] reporting what she
did” (SPA 1548)—and the district court properly deemed it admitted under Local
Rule 56.1(c) (id.).

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miss his scheduled appearance on the network. (JA 218 ¶ 30; JA 817 ¶ 30.) Guzman

warned Velazquez that this was unacceptable. (JA 218 ¶ 31; JA 818 ¶ 31.) But

Velazquez continued to be late for work. (JA 219 ¶ 33; JA 818 ¶ 33.)

      Velazquez admitted that CNBC on-air talent and staff complained about her

lateness. (Id.) In July 2015, as complaints about Velazquez’s lateness mounted,

Guzman and Duffy collected badge swipe data from the NYSE, which showed that

Velazquez had been late to her assignment there 35 times over the previous two

months—far more often than any of her peers. (JA 219 ¶¶ 36-39.) Velazquez

admitted that Guzman warned her again about her lateness after the badge swipe

analysis. (JA 220 ¶¶ 40-42; JA 819 ¶¶ 40-42.)        Her attendance nevertheless

deteriorated to the point that Duffy adjusted Velazquez’s call time in November

2015 to try to accommodate her late arrivals to the NYSE, but Velazquez was late

even for her adjusted call time. (JA 221 ¶¶ 48-49; JA 819 ¶¶ 48-49.)

      On January 28, 2016, Velazquez was 30 minutes late for her assignment to

handle DeAngelis’s hair and makeup at NYMEX. (JA 221 ¶ 51.) The next day,

Velazquez overslept and did not arrive for her NYMEX shift, requiring DeAngelis

to do her own hair and makeup. (Id. ¶¶ 52-54.) In light of the missed shift and

Velazquez’s history of unreliability, DeAngelis asked Guzman to stop scheduling

Velazquez to handle her hair and makeup.        (JA 221-22 ¶¶ 55-56.)    During

Velazquez’s time at CNBC, no other hair and makeup artist was the subject of a


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similar request by on-air talent. (JA 223 ¶ 63.) Guzman ultimately concluded, with

Duffy’s agreement, that Velazquez should be taken off the hair and makeup schedule

altogether, effectively ending Velazquez’s assignment, and she informed Velazquez

of that decision on January 29, 2016. (JA 222 ¶¶ 56-58.)

Velazquez’s Allegations of Retaliation

      In her pleadings and at her deposition, Velazquez claimed to have made

various complaints about her compensation during her time at CNBC, none of which

relate to overtime or any other right protected by the FLSA.        According to

Velazquez:

         • In November 2015—months after CNBC had reduced Velazquez’s
           hours to approximately 20 per week—she complained to Guzman,
           saying, “Where is my money?”; “You do this shit often. I’m tired of
           it.”; and “I better get paid in the next week.” (JA 1024:5-13.)

         • She complained to Guzman and Fields-Gomez that she was not paid
           time-and-a-half as holiday pay on Martin Luther King Day, even
           though this is not a legal requirement and she admittedly did not work
           more than 40 hours that week. (JA 1131:19-1132:9, 1212:23-1215:19.)

         • At some point, she sent Guzman a text message asking if Guzman had
           “had been to my Yoh account again to fix my hours because I was short
           on money.” (JA 932:14-23.)

         • In certain unspecified instances, she “would question Tara Fields about
           inputting time and hours missing.” (JA 1204:19-24, 1218:6-1221:24.)

         • In certain unspecified instances, she “would question” Guzman about
           discrepancies in her pay, and Guzman would respond that she was
           “carrying over” Velazquez’s hours from one week to another for
           budgetary reasons. (JA 1204:19, 1205:21-1207:6.)



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The District Court Dismissal

      The district court dismissed Velazquez’s retaliation claims on two grounds,

each of which provides an independent basis to affirm. First, it held that none of

Velazquez’s alleged complaints constituted protected activity under the FLSA or

NYLL. The court evaluated each of the “vague comment[s]” Velazquez had

described, concluding that they “articulate no right protected by the federal or state

labor laws, and are not reasonably susceptible of being interpreted as an invocation

of her rights under such laws.” (SPA 1564-65.) Second, the court found that

Velazquez “[did] not offer an iota of evidence that firing her for lateness was

pretextual.” (SPA 1567.)       It emphasized that “[n]one of the critical facts is in

dispute,” cataloging Velazquez’s express and de facto admissions regarding the

importance of punctuality to the job, her own chronic lateness, the warnings

repeatedly given to her, and the events leading to her de-scheduling. The district

court correctly noted that Velazquez had provided only “a blanket denial” and

“irrelevant testimony” to rebut this evidence, each insufficient to raise any genuine

issue of material fact. (SPA 1566.)

                       SUMMARY OF THE ARGUMENT
      The district court properly dismissed Velazquez’s FLSA retaliation claim

because Velazquez did not engage in protected activity and failed to provide any

evidence that the decision to terminate her employment was pretextual.



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      Velazquez argues that the district court erred in granting summary judgment

for three reasons: (1) the evidence in the record supports a reasonable inference that

Velazquez engaged in protected activity; (2) the temporal proximity between

Velazquez’s alleged complaints and her termination creates an inference of

causation; and (3) because other makeup artists were sometimes late, CNBC’s

decision was pretextual. None of these arguments warrants reversal.

      First, the district court properly considered the alleged informal complaints

made by Velazquez, including the context in which they were made (a period of time

in which she was working roughly 20 hours per week), and determined that they

were not protected activity. Velazquez’s attempts to undercut the district court’s

analysis are based on mischaracterizations of the record; none of the complaints

came in the context of a discussion about unpaid overtime or hours worked in excess

of 40 in a workweek. Velazquez’s unsupported allegations to the contrary are

unavailing.

      Second, Velazquez’s argument that she made a prima facie showing of

causation fails. The record demonstrates that Velazquez’s persistent lateness and

CNBC’s warnings started long before her alleged protected activity, severing any

purported causal connection. Velazquez’s failure to raise an inference of causation

provides an alternative basis to affirm the district court’s ruling.




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      Finally, Velazquez admitted the material facts demonstrating that the reason

for her termination was not pretextual, and Velazquez’s argument that similarly

situated workers were treated more favorably than she was does not withstand

scrutiny. Thus, even if Velazquez had made a prima facie case of retaliation, which

she did not, the district court properly dismissed her claim for the independent reason

that she failed to provide evidence of pretext.

                            STANDARD OF REVIEW
      This Court reviews a district court grant of summary judgment de

novo. Casciani v. Nesbitt, 392 F. App’x 887, 888 (2d Cir. 2010) (citing Guest v.

Hansen, 603 F.3d 15, 20 (2d Cir. 2010)). Summary judgment is warranted where

there is no genuine issue of material fact. Allianz Ins. Co. v. Lerner, 416 F.3d 109,

113 (2d Cir. 2005). While the court must “constru[e] the evidence in the light most

favorable to the non-moving party and draw[ ] all reasonable inferences in [her]

favor” (id.), a party may not avoid summary judgment with “assertions that are

conclusory . . . or based on speculation.” Major League Baseball Props., Inc. v.

Salvino, Inc., 542 F.3d 290, 310 (2d Cir. 2008) (internal citations omitted).

                                   ARGUMENT

               THE COURT SHOULD AFFIRM THE DISMISSAL OF
                 VELAZQUEZ’S FLSA RETALIATION CLAIM
      A retaliation claim under the FLSA is analyzed under the three-step burden-

shifting analysis established by McDonnell Douglas Corp. v. Green, 411 U.S. 792,


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803 (1973). Mullins v. City of New York, 626 F.3d 47, 53 (2d Cir. 2010). Under that

analysis, Velazquez has the initial burden to establish “(1) participation in protected

activity known to the defendant, like the filing of a FLSA lawsuit; (2) an employment

action disadvantaging the plaintiff; and (3) a causal connection between the

protected activity and the adverse employment action.” Mullins, 626 F.3d at 53. If

this prima facie case is made, the burden shifts to Appellees to proffer a legitimate,

non-retaliatory reason for the alleged adverse action. Finally, the burden shifts to

Velazquez to prove by a preponderance of the evidence that Appellees’ stated reason

is pretext for retaliation.

       Velazquez’s retaliation claim fails because she did not establish (1) that she

engaged in protected activity, (2) any causation between her alleged protected

activity and her separation from Appellees, and (3) that CNBC’s stated reasons for

deciding to stop scheduling her were pretext for retaliation. Each of these is an

independent basis to affirm the district court’s grant of summary judgment.

I.     Velazquez Cannot Establish a Prima Facie Case of Retaliation

       A.     Velazquez Did Not Engage in Protected Activity
       An employee may premise an FLSA retaliation claim on a complaint made to

an employer only where “the complaint is ‘sufficiently clear and detailed for a

reasonable employer to understand it, in light of both content and context, as an

assertion of rights protected by the [FLSA] and a call for their protection.’”



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Greathouse v. JHS Sec., Inc., 784 F.3d 105, 107 (2d Cir. 2015) (quoting Kasten v.

Saint-Gobain Performance Plastics Corp., 563 U.S. 1, 1335 (2011)). The rights

protected by the FLSA are the payment of minimum wages and overtime

wages. Nakahata v. New York-Presbyterian Healthcare Sys., Inc., 723 F.3d 192,

201 (2d Cir. 2013). The overtime threshold under the statute is 40 hours per

workweek. 29 U.S.C. 207 § (a)(2).

      To support an FLSA retaliation claim, the complaint must contain a “clear

articulation of facts indicative of illegality’”; “mere ‘abstract grumblings’ will not

pass muster.” Dunn v. Sederakis, 143 F. Supp. 3d 102, 113 (S.D.N.Y. 2015)

(dismissing retaliation claim based on plaintiff’s “opaque and unexplicated reference

to ‘overtime’” in alleged oral complaint). Determining whether a complaint is

“protected activity” under the FLSA is a question of law. Mattera v. JPMorgan

Chase Corp., 740 F. Supp. 2d 561, 579 (S.D.N.Y. 2010).4

      Velazquez bases her retaliation claim entirely on the informal complaints she

described at her deposition. She asserts that these alleged informal complaints were

about not being paid overtime. (Velazquez Br. 12-13.)5 While Velazquez makes


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  Mattera involved a claim for retaliation under the Age Discrimination in
Employment Act, which is analyzed in the same manner as a retaliation claim under
the FLSA. See Centeno v. 75 Lenox Realty LLC, 2017 U.S. Dist. LEXIS 50819, at
*16-17 (E.D.N.Y. Mar. 31, 2017).

5
 It bears repeating that the district court dismissed Velazquez’s claims for unpaid
overtime wages under the FLSA and New York law because Velazquez

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much of the extent to which CNBC’s witnesses remember her alleged complaints,

none of them would constitute “protected activity” under the FLSA even if they

occurred just as Velazquez described them, as the district court correctly held.

       To start, Velazquez’s alleged November 2015 oral complaint to Guzman—

“Where is my money?”; “You do this shit often”; “I better get paid next week”—

made no reference to overtime, and set forth no facts indicative of any other violation

of the FLSA. (JA 1023:23-1024:16.) Velazquez insists that these demands were

about “missing overtime pay” (see Velazquez Br. 9, 13, citing Velazquez Dep. 152-

53 (JA 1023-24)), but her own testimony contradicts that assertion. Velazquez

testified that by November 2015, her hours had been reduced to around 20 per week,

and she was working roughly 2.5 allegedly unpaid hours per week—well below the

40-hour overtime threshold. (JA 1020:15-1021:2.) Thus, while Velazquez’s alleged

demand that she “better get paid in the next week” perhaps had something to do with

the timing of wage payments, it certainly was not an assertion of the right to receive

overtime pay under the FLSA.

      While the focus of Velazquez’s FLSA retaliation claim is her purported

November 2015 oral complaint, Velazquez asserts in her brief that she “complained



“introduce[d] no competent evidence that she performed as much as one hour of
uncompensated overtime work.” (SPA 1558.) Velazquez does not appeal the
dismissal of those claims. She has never claimed, and could not claim, that she was
paid less than minimum wage.

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about other things as well, such as not getting reimbursed expenses, not getting time

and a half for working on Martin Luther King day, and not getting a ‘day rate’ for

an on location shoot,” arguing that those complaints purportedly demonstrate that

she “would have likely complained about overtime as well.” (Velazquez Br. 15.) 6

This “litany of complaints that plainly concern[] non-FLSA matters” only weakens

Velazquez’s claim of protected activity. Dunn v. Sederakis, 143 F. Supp. 3d 102,

113-14 (S.D.N.Y. 2015) (no protected activity despite alleged “unelaborated

reference” to overtime, “[p]articularly given the non-statutory gist of [plaintiff’s]

other grievances”). As the district court correctly noted, none of those alleged

complaints implicate rights under the FLSA, and therefore, cannot be considered

protected activity. “The law does not require that work performed on a . . . holiday

be compensated at time and a half rates.” (SPA 1564.) Further, complaints about

an employer’s “internal policy” or an employee’s alleged “contractual rights” do not

constitute protected activity. Caddick v. Pers. Co. I LLC, 2018 WL 3222520, at *9

(S.D.N.Y. June 29, 2018).

      Velazquez’s remaining assertions fare no better. Her claims that she texted

Guzman that she was “short on money,” that she “question[ed]” Guzman about



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  Velazquez implicitly concedes that the January 2016 Martin Luther King Day
complaint does not constitute protected activity, as she claims elsewhere in her brief
that “she last complained in November 2015.” (Velazquez Br. 16) (emphasis
added).

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suspected discrepancies in her pay, and that she “question[ed] Tara Fields about

inputting time and hours missing” (JA 932:15-23, 1204:19-24, 1206:2-1208:21) at

most “paint a picture of an employee who approached her employer about her pay

because she did not understand or could not reconcile her payroll stubs.” Watkins v.

First Student, Inc., 2018 WL 1135480, at *10 (S.D.N.Y. Feb. 28, 2018). These

vague comments contain no detail that would reasonably lead CNBC or Yoh to

understand that Velazquez was making a “call for [her] protection” under the FLSA.

Greathouse, 784 F.3d at 107.

      Again, Velazquez tries to avoid this conclusion by distorting her own

testimony: she says in her brief that she “complained about the practice of overtime

hours being carried over because of alleged budgetary issues,” but her cited

testimony makes no mention whatsoever of overtime. (Velazquez Br. 9, citing

Velazquez Dep. 332-33, 349-51 (JA 1207-08, 1224-26)). In any event, the relevant

context once again undermines her claim. Velazquez testified that she generally

worked well under the 40-hour overtime threshold: her usual schedule totaled less

than 30 hours per week, and after her first year, her hours were closer to 20 per week.

See supra at 4. It would have been affirmatively unreasonable for Guzman or anyone

else at CNBC or Yoh to believe that a complaint from Velazquez about “carrying

over” Velazquez’s hours from one week to another was a complaint about unpaid

overtime hours in excess of 40 in a week.


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      Velazquez’s claimed complaints “would not have put any Defendant on notice

that [she] was asserting her statutory rights to overtime pay under the FLSA.” (SPA

1565.) As a result, her retaliation claim failed to establish that she engaged in a

protected activity.

      B.     Velazquez Cannot Establish Causation
      The undisputed facts demonstrate not only that Velazquez did not engage in

protected activity, but also that no causal link exists between her alleged activity and

CNBC’s decision to take her off the schedule. While the district court did not

address the lack of causation (instead assuming a prima facie case for purposes of

its pretext analysis), it provides an alternative basis for affirmance.

      “When discipline or expressed dissatisfaction with job performance has taken

place before the plaintiff engages in a protected activity, a causal nexus does not

exist between the protected activity and a subsequent adverse action.” Bernard v.

J.P. Morgan Chase Bank N.A., 2010 WL 423102, at *17 (S.D.N.Y. Feb. 5, 2010)),

aff’d, 408 F. App’x 465 (2d. Cir. 2011); see Giudice v. Red Robin Int’l, Inc., 555 F.

App’x 67, 69 (2d Cir. 2014). Here, the only alleged protected activity for which

Velazquez provides a date occurred in November 2015. (Velazquez Br. 13.) But

she raises no genuine dispute that appellees had warned her repeatedly, well before

November 2015, that her lateness was unacceptable. (See JA 218-20 ¶¶ 31-45.)

These facts alone break any claimed causal link.



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      Further, “courts in this Circuit have consistently held that a passage of more

than two months between the protected activity and the adverse employment action

does not allow for an inference of causation.” Moccio v. Cornell Univ., 889 F. Supp.

2d 539, 587 (S.D.N.Y. 2012), aff’d, 526 F. App’x 124 (2d Cir. 2013); see Dawson

v. Long, 2018 WL 5914859, at *16 (S.D.N.Y. Aug. 20, 2018) (collecting cases). The

decision to stop scheduling Velazquez was made on January 29, 2016, over two

months after she “last complained” in November 2015. (Velazquez Br. 16.) In the

intervening months, she was late for her shifts multiple times and then missed her

assignment completely on January 29, 2016. (JA 221-22 ¶¶ 50-56.) These facts,

too, preclude any inference of causation.

      Velazquez argues on appeal that the “temporal proximity” of her November

2015 complaint and CNBC’s adverse action does establish causation. (Velazquez

Br. 15-16.) In doing so, she relies on inapt cases where the evidence showed

protected activity closer than two months before the alleged retaliation. (Velazquez

Br. 15-16, citing Gorman-Bakos v. Cornell Co-op Extension of Schenectady Cty.,

252 F.3d 545, 555 (2d Cir. 2001) (record included evidence of protected activity

“only a few days” prior to alleged retaliation); Quinn v. Green Tree Credit Corp.,

159 F.3d 759, 769 (2d Cir. 1998) (“discharge came less than two months after

[plaintiff] filed a complaint with [employer] and just ten days after she filed a

complaint with [agency]); Richardson v. New York State Dept. of Corr. Serv., 180


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F.3d 426, 435, 446-47 (2d Cir. 1999) (abusive treatment occurred within one month

of protected activity)). 7 None of these decisions involved a preexisting history of

expressed performance dissatisfaction and intervening misconduct, as at issue here.

      Other than inapt case law, Velazquez supports her causation argument only

with her own testimony that Guzman responded to her November 2015 complaint

“by telling her she was ‘being a pain in the ass’ and that [Ms.] Duffy was ‘really

pissed at [her].’” (Velazquez Br. 14.) These alleged comments are too vague and

isolated from the challenged action to establish a causal link even if they were made,

which they were not. See, e.g., Alexander v. Bd. of Educ., 107 F. Supp. 3d 323, 330

(S.D.N.Y. 2015), aff’d, 648 F. App’x 118 (2d Cir. 2016). Moreover, as noted above,

the decision to end Velazquez’s assignment was made on the same day Velazquez

overslept and missed yet another shift. Thus, Velazquez’s own misconduct breaks

any chain of causation. Benjamin v. Terrero, 2017 WL 187479, at *9 (S.D.N.Y. Jan.

13, 2017) (granting summary judgment on retaliation claims, finding that plaintiff’s

termination within days of her failure to come to work precluded causation).




7
 The only case Velazquez cites involving a temporal gap significantly longer than
two months involved unique circumstances inapplicable here. In Grant v. Bethlehem
Steel Corp., 622 F.2d 43 (2d Cir. 1980), this Court found that plaintiff established
causation because his employer failed to offer him another job after he completed an
eight-month assignment that the employer had already given him prior to his filing
of an EEOC charge. Id. at 45–46. The Grant Court did not analyze the time
between the protected activity and the alleged adverse action.

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      Velazquez’s chronic lateness, and CNBC’s response, began well before the

alleged protected activity and continued well after it. Nothing changed. There is no

causal connection between the alleged complaints and CNBC’s adverse action.

II.   Velazquez Failed to Show that CNBC’s Legitimate Reason Was
      Pretextual
      Even if Velazquez had established a prima facie case of FLSA retaliation,

which she did not, the district court properly dismissed her claim because Velazquez

failed to offer “an iota of evidence” that CNBC’s legitimate, non-retaliatory reason

to end her assignment was pretextual. (SPA 1567.)

      Where, as here, an employer proffers a legitimate, non-retaliatory basis for its

action, the burden shifts to plaintiff “to show that the employer’s explanation is a

pretext for retaliation.” Wang v. Palmisano, 157 F. Supp. 3d 306, 328 (S.D.N.Y.

2016) (citation omitted). CNBC took Velazquez off the hair and makeup schedule

solely because of her chronic lateness and unreliability, and Velazquez expressly or

effectively admitted all of material the facts proving as much.

      A.     Velazquez Admitted All the Facts Underlying CNBC’s Decision
      Local Rule of Civil Procedure 56.1 provides that each paragraph in a summary

judgment movant’s statement of undisputed material facts “will be deemed to be

admitted . . . unless specifically controverted” in the opposing party’s statement with

“evidence which would be admissible” at trial. (Emphasis added.) As the district

court properly found, Velazquez “stipulated to most of the material facts regarding


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her lateness” and failed to “offer any . . . admissible evidence contradicting

Defendants[]” regarding the events leading up to her termination. (SPA 1566.)

Velazquez therefore admitted or must be deemed to have admitted all those facts.

      To start, Velazquez expressly admitted that a hair and makeup artist’s

persistent lateness constitutes unsatisfactory job performance, that on-air talent and

staff complained about her lateness, that she was warned about her lateness, and that

Duffy adjusted Velazquez’s call time in November 2015 to accommodate her

lateness, to no avail. (Compare JA 218-221 ¶¶ 27, 31-33, 40-42, 48, with JA 817-

19 ¶¶ 27, 31-33, 40-42, 48.)

      Velazquez did not genuinely dispute that badge swipe data collected by

CNBC in 2015 showed she was late to NYSE 35 times in less than two months, that

she was late to NYSE far more often than her peers, and that the degree of her

lateness—often more than 15 minutes—was greater than her peers. In her purported

denial of these facts, Velazquez merely pointed out that the badge swipe data showed

other hair and makeup artists had “lateness issues,” though she admitted that those

issues “where [sic] allegedly not as bad as plaintiff’s.” (Compare JA 219 ¶¶ 36-39,

with JA 818-19 ¶¶ 36-39.)

      Most strikingly, Velazquez did not genuinely dispute the events that

immediately precipitated CNBC’s taking her off the schedule. On January 28, 2016,

she was 30 minutes late for her assignment to handle DeAngelis’s hair and makeup


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at NYMEX. (JA 221 ¶ 51.) The next day, Velazquez overslept and did not arrive

for her NYMEX shift, requiring DeAngelis to do her own hair and makeup. (Id. ¶¶

52-54.)   In light of the missed shift and Velazquez’s history of unreliability,

DeAngelis asked Guzman to stop scheduling Velazquez to handle her hair and

makeup. (JA 221-22 ¶¶ 55-56.) During Velazquez’s time at CNBC, no other hair

and makeup artist was the subject of a similar request by on-air talent. (JA 223 ¶

63.) Guzman concluded that Velazquez should be taken off the hair and makeup

schedule altogether, and, with Duffy’s agreement, she informed Velazquez of that

decision the same day. (JA 222 ¶¶ 56-58.)

      Velazquez’s sole response to the events of January 28 and 29, 2016 is a non

sequitur: “Denied. A badge swipes report showed that [makeup artists] other than

plaintiff, had lateness issues.” (Compare JA 221-23 ¶¶ 51-56, with JA 820 ¶¶ 51-

56.) The district court properly deemed these facts admitted because Velazquez

offered no evidence in response creating a dispute of fact. (SPA 1566.)

      Velazquez had the opportunity to try to refute these facts at the summary

judgment stage, but she did not—unsurprisingly, since the record would not support

her denials. She is therefore left with the undisputed fact that CNBC decided to take

her off the schedule solely because of her lateness and unreliability.




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       B.      Velazquez Cannot Establish Pretext
       Velazquez tries to save her claim by asserting that other hair and makeup

artists had “lateness issues” like her, but were not taken off the schedule. (Velazquez

Br. 15.) She relies specifically on the 2015 badge swipe analysis from the NYSE,

singling out Loretta Calderon and Janet Flora as other artists with for whom

“lateness was a problem.” (Velazquez Br. 14.) But this badge swipe analysis does

not help Velazquez: it demonstrates that in June and July 2015, she was more than

five minutes late for her shift at the NYSE 35 times—much more than the total

combined number of times that Calderon and Flora were late—and that, unlike those

artists, Velazquez was often more than 15 minutes late. (JA 219 ¶¶ 37-39; JA 357-

59.)

       Further, the specific lateness issue documented by the badge swipe analysis

at the NYSE was far from the only reason that CNBC took Velazquez off the

schedule. There is overwhelming additional evidence of Velazquez’s uniquely

severe lateness problem that refutes any notion of pretext. The undisputed evidence

shows that no other artist:

            • was persistently late after being warned numerous times that lateness
              was unacceptable (JA 218, 220 ¶¶ 31, 40-41, 45);

            • was late to her NYSE shift even after CNBC adjusted her start time to
              accommodate her (JA 221 ¶¶ 49-50);

            • was the subject of complaints by talent about her lateness (JA 220-21
              ¶¶ 45-47);


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         • was 30 minutes late for a shift and then failed to show up for her shift
           the next day with no legitimate excuse (JA 221 ¶¶ 51-54; JA 618-20);
           and

         • had a CNBC reporter become so fed up with her lateness and
           unreliability that she asked Guzman to stop assigning the artist to work
           with her (JA 221 ¶ 55).
      Because Velazquez admits the facts underlying the decision to terminate her

employment and cannot point to any evidence that casts doubt on CNBC’s stated

reasons, this Court should affirm the district court’s grant of summary judgment for

this independent reason. See, e.g., Varughese v. Mount Sinai Med. Ctr., 2015 WL

1499618, at *3, *56 (S.D.N.Y. Mar. 27, 2015) (“On the evidence in the record, no

reasonable juror could find [plaintiff] to have overcome the overwhelming evidence

that [d]efendants disciplined and terminated her, not because of her sex or her

ethnicity, but because of her own admitted behavior”); Pearson v. Unification

Theological Seminary, 785 F. Supp. 2d 141 (S.D.N.Y. 2011) (dismissing

discrimination claims where plaintiff admitted to the misconduct defendant stated

was the reason for termination).




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                                 CONCLUSION
      For the foregoing reasons, Appellees respectfully request that the Court affirm

the district court’s March 15, 2019 Order granting Appellees’ motion for summary

judgment.

Dated: November 25, 2019                 Respectfully submitted,
       New York, New York

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that in compliance with the Federal Rules of Appellate

Procedure, Appellees’ Brief in in 14-point Times New Roman typeface and is 5,405

words calculated by Microsoft Word, a word processing program.

Dated: November 25, 2019               Respectfully submitted,
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